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                                                              United States District Court
                                                              Central District of California


 UNITED STATES OF AMERICA vs.                                                  Docket No.             LA CR20-00603 JAK         JS3

 Defendant            Jeanette Bernardette Paredez                             Social Security No. 8        3     2      1

 akas:    Delgado, Jeanette Bernadette                                         (Last 4 digits)


                                                JUDGMENT AND PROBATION/COMMITMENT ORDER


                                                                                                                      MONTH     DAY      YEAR
            In the presence of the attorney for the government, the defendant appeared in person on this date.          07        15      2021


     COUNSEL                                                         Randolph R. Melendez, Retained
                                                                             (Name of Counsel)
      PLEA            X GUILTY, and the court being satisfied that there is a factual basis for the plea.          NOLO                    NOT
                                                                                                                CONTENDERE                GUILTY
                      There being a finding/verdict of GUILTY, defendant has been convicted as charged of the offense(s) of:
                      Mail Fraud in violation of 18 U.S.C. § 1341 and 18 U.S.C. § 2(b) as charged in Count 5 of the Indictment;
     FINDING
                      Making and Subscribing to a False Income Tax Return in violation of 26 U.S.C. § 7206(1) and 18 U.S.C. § 2(b) as charged in
                      Count 11 of the Indictment.

 JUDGMENT             The Court asked whether there was any reason why judgment should not be pronounced. Because no sufficient cause to the
 AND PROB/            contrary was shown, or appeared to the Court, the Court adjudged the defendant guilty as charged and convicted and ordered
   COMM               that: Pursuant to the Sentencing Reform Act of 1984, it is the judgment of the Court that the defendant, Jeanette Bernadette
   ORDER              Paredez, is hereby committed on Counts 5 and 11 of the Indictment to the custody of the Bureau of Prisons for a term of 18
                      months. This term consists of 18 months on each of Counts 5 and 11 of the Indictment, to be served concurrently.

Upon release from imprisonment, the defendant shall be placed on supervised release for a term of three years. This term consists of three
years on Count 5 of the Indictment, and 1 year on Count 11 of the Indictment, all such terms to run concurrently under the following terms
and conditions:

1.       The defendant shall comply with the rules and regulations of the United States Probation & Pretrial Services Office and Second
         Amended General Order 20-04, including the conditions of probation and supervised release set forth in Section III of Second
         Amended General Order 20-04.

2.       During the period of community supervision, the defendant shall pay the special assessment and restitution in accordance with this
         judgment's orders pertaining to such payment.

3.       The defendant shall truthfully and timely file and pay taxes owed for the years of conviction, and shall truthfully and timely file and
         pay taxes during the period of community supervision. Further, the defendant shall show proof to the Probation Officer of
         compliance with this order.

4.       The defendant shall not be employed in any capacity wherein the defendant has custody, control, or management of the
         defendant's employer's funds.

5.       The defendant shall notify his employer, by letter, of his criminal conviction, and forward a copy of the letter to the United States
         Probation Officer.

6.       The defendant shall cooperate in the collection of a DNA sample from the defendant.

7.       The defendant shall apply all monies received from income tax refunds, lottery winnings, inheritance, judgments and any other
         financial gains to the Court-ordered financial obligation.

It is ordered that the defendant shall pay to the United States a special assessment of $200, which is due immediately. Any unpaid balance
shall be due during the period of imprisonment, at the rate of not less than $25 per quarter, and pursuant to the Bureau of Prisons' Inmate
Financial Responsibility Program.

It is ordered that the defendant shall pay restitution in the total amount of $1,105,513.99 pursuant to 18 U.S.C. § 3663A.



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The amount of restitution ordered shall be paid as follows:

Victim                               Amount:


Cal Poly Pomona Foundation           $925,486.99
IRS                                  $180,027.00

TOTAL:                               $1,105,513.99

The Court finds from a consideration of the record that the defendant's economic circumstances allow for restitution payments pursuant to
the following schedule: A partial payment of $43,000 shall be paid immediately. A second partial payment of $200,000 shall be paid no later
than 90 days after the date of sentencing. Restitution shall be due during the period of imprisonment, at the rate of not less than $25 per
quarter, and pursuant to the Bureau of Prisons' Inmate Financial Responsibility Program. If any amount of the restitution remains unpaid
after release from custody, monthly payments of at least 10% of defendant's gross monthly income but not less than $450, whichever is
greater, shall be made during the period of supervised release. These payments shall begin 90 days after the commencement of
supervision. Nominal restitution payments are ordered as the Court finds that the defendant's economic circumstances do not allow for
either immediate or future payment of the amount ordered.

If the defendant makes a partial payment, each payee shall receive approximately proportional payment unless another priority order or
percentage payment is specified in the judgment.

Pursuant to 18 U.S.C. § 3612(f)(3)(A), interest on the restitution ordered is waived because the defendant does not have the ability to pay
interest. Payments may be subject to penalties for default and delinquency pursuant to 18 U.S.C. § 3612(g).

Pursuant to Guideline § 5E1.2(a), all fines are waived as the Court finds that the defendant has established that she is unable to pay and is
not likely to become able to pay any fine.

The drug testing condition mandated by statute is suspended based on the Court's determination that the defendant poses a low risk of
future substance abuse.

It is further ordered that the defendant surrender herself to the institution designated by the Bureau of Prisons at or before 12 noon, on
September 14, 2021. In the absence of such designation, the defendant shall report on or before the same date and time, to the United
States Marshal located at the First Street U.S. Courthouse, at 350 W. First Street, Los Angeles, CA 90012

The Court recommends that the defendant be incarcerated in a Southern California facility.

Bond is exonerated upon self-surrender.

The Court grants the Government’s request to dismiss all remaining counts as to this defendant only.

Defendant is advised of her right of appeal.

IT IS SO ORDERED.




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 In addition to the special conditions of supervision imposed above, it is hereby ordered that the Standard Conditions of Probation and
 Supervised Release within this judgment be imposed. The Court may change the conditions of supervision, reduce or extend the period of
 supervision, and at any time during the supervision period or within the maximum period permitted by law, may issue a warrant and revoke
 supervision for a violation occurring during the supervision period.




            July 16, 2021
            Date                                                      John A. Kronstadt, United States District Judge

 It is ordered that the Clerk deliver a copy of this Judgment and Probation/Commitment Order to the U.S. Marshal or other qualified officer.


                                                                      Clerk, U.S. District Court




            July 16, 2021                                       By    /s/ T. Jackson
            Filed Date                                                T. Jackson, Deputy Clerk



 The defendant must comply with the standard conditions that have been adopted by this court (set forth below).

                                   STANDARD CONDITIONS OF PROBATION AND SUPERVISED RELEASE

                               While the defendant is on probation or supervised release pursuant to this judgment:

 1.    The defendant must not commit another federal, state, or local          9.      The defendant must not knowingly associate with any persons
       crime;                                                                          engaged in criminal activity and must not knowingly associate
 2.    The defendant must report to the probation office in the federal                with any person convicted of a felony unless granted
       judicial district of residence within 72 hours of imposition of a               permission to do so by the probation officer. This condition will
       sentence of probation or release from imprisonment, unless                      not apply to intimate family members, unless the court has
       otherwise directed by the probation officer;                                    completed an individualized review and has determined that
 3.    The defendant must report to the probation office as instructed                 the restriction is necessary for protection of the community or
       by the court or probation officer;                                              rehabilitation;
 4.    The defendant must not knowingly leave the judicial district            10.     The defendant must refrain from excessive use of alcohol and
       without first receiving the permission of the court or probation                must not purchase, possess, use, distribute, or administer any
       officer;                                                                        narcotic or other controlled substance, or any paraphernalia
 5.    The defendant must answer truthfully the inquiries of the                       related to such substances, except as prescribed by a
       probation officer, unless legitimately asserting his or her Fifth               physician;
       Amendment right against self-incrimination as to new criminal           11.     The defendant must notify the probation officer within 72 hours
       conduct;                                                                        of being arrested or questioned by a law enforcement officer;
 6.    The defendant must reside at a location approved by the                 12.     For felony cases, the defendant must not possess a firearm,
       probation officer and must notify the probation officer at least                ammunition, destructive device, or any other dangerous
       10 days before any anticipated change or within 72 hours of                     weapon;
       an unanticipated change in residence or persons living in               13.     The defendant must not act or enter into any agreement with a
       defendant’s residence;                                                          law enforcement agency to act as an informant or source
 7.    The defendant must permit the probation officer to contact him                  without the permission of the court;
       or her at any time at home or elsewhere and must permit                 14.     The defendant must follow the instructions of the probation
       confiscation of any contraband prohibited by law or the terms                   officer to implement the orders of the court, afford adequate
       of supervision and observed in plain view by the probation                      deterrence from criminal conduct, protect the public from
       officer;                                                                        further crimes of the defendant; and provide the defendant
 8.    The defendant must work at a lawful occupation unless                           with needed educational or vocational training, medical care,
       excused by the probation officer for schooling, training, or                    or other correctional treatment in the most effective manner.
       other acceptable reasons and must notify the probation officer
       at least ten days before any change in employment or within
       72 hours of an unanticipated change;




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   X The defendant must also comply with the following special conditions (set forth below).

                      STATUTORY PROVISIONS PERTAINING TO PAYMENT AND COLLECTION OF FINANCIAL SANCTIONS

           The defendant must pay interest on a fine or restitution of more than $2,500, unless the court waives interest or unless the fine or
 restitution is paid in full before the fifteenth (15th) day after the date of the judgment under 18 U.S.C. § 3612(f)(1). Payments may be subject to
 penalties for default and delinquency under 18 U.S.C. § 3612(g). Interest and penalties pertaining to restitution, however, are not applicable for
 offenses completed before April 24, 1996. Assessments, restitution, fines, penalties, and costs must be paid by certified check or money order
 made payable to “Clerk, U.S. District Court.” Each certified check or money order must include the case name and number. Payments must be
 delivered to:

           United States District Court, Central District of California
           Attn: Fiscal Department
           255 East Temple Street, Room 1178
           Los Angeles, CA 90012

 or such other address as the Court may in future direct.

         If all or any portion of a fine or restitution ordered remains unpaid after the termination of supervision, the defendant must pay the
 balance as directed by the United States Attorney’s Office. 18 U.S.C. § 3613.

         The defendant must notify the United States Attorney within thirty (30) days of any change in the defendant’s mailing address or
 residence address until all fines, restitution, costs, and special assessments are paid in full. 18 U.S.C. § 3612(b)(l)(F).

          The defendant must notify the Court (through the Probation Office) and the United States Attorney of any material change in the
 defendant’s economic circumstances that might affect the defendant’s ability to pay a fine or restitution, as required by 18 U.S.C. § 3664(k).
 The Court may also accept such notification from the government or the victim, and may, on its own motion or that of a party or the victim,
 adjust the manner of payment of a fine or restitution under 18 U.S.C. § 3664(k). See also 18 U.S.C. § 3572(d)(3) and for probation 18 U.S.C. §
 3563(a)(7).

           Payments will be applied in the following order:

                       1. Special assessments under 18 U.S.C. § 3013;
                       2. Restitution, in this sequence (under 18 U.S.C. § 3664(i), all nonfederal victims must be paid before the United
                          States is paid):
                                 Non-federal victims (individual and corporate),
                                 Providers of compensation to non-federal victims,
                                 The United States as victim;
                       3. Fine;
                       4. Community restitution, under 18 U.S.C. § 3663(c); and
                       5. Other penalties and costs.

                      CONDITIONS OF PROBATION AND SUPERVISED RELEASE PERTAINING TO FINANCIAL SANCTIONS

           As directed by the Probation Officer, the defendant must provide to theProbation Officer: (1) a signed release authorizing credit report
 inquiries; (2) federal and state income tax returns or a signed release authorizing their disclosure and (3) an accurate financial statement, with
 supporting documentation as to all assets, income and expenses of the defendant. In addition, the defendant must not apply for any loan or
 open any line of credit without prior approval of the Probation Officer.

           When supervision begins, and at any time thereafter upon request of the Probation Officer, the defendant must produce to the
 Probation and Pretrial Services Office records of all bank or investments accounts to which the defendant has access, including any business
 or trust accounts. Thereafter, for the term of supervision, the defendant must notify and receive approval of the Probation Office in advance of
 opening a new account or modifying or closing an existing one, including adding or deleting signatories; changing the account number or
 name, address, or other identifying information affiliated with the account; or any other modification. If the Probation Office approves the new
 account, modification or closing, the defendant must give the Probation Officer all related account records within 10 days of opening,
 modifying or closing the account. The defendant must not direct or ask anyone else to open or maintain any account on the defendant’s
 behalf.

          The defendant must not transfer, sell, give away, or otherwise convey any asset with a fair market value in excess of $500 without
 approval of the Probation Officer until all financial obligations imposed by the Court have been satisfied in full.

                                  These conditions are in addition to any other conditions imposed by this judgment.




                                                                      RETURN

I have executed the within Judgment and Commitment as follows:



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 Defendant delivered on                                                                       to

 Defendant noted on appeal on

 Defendant released on
 Mandate issued on
 Defendant’s appeal determined on
 Defendant delivered on                                                                      to
     at
     the institution designated by the Bureau of Prisons, with a certified copy of the within Judgment and Commitment.

                                                                      United States Marshal



                                                                By
            Date                                                      Deputy Marshal

                                                                     CERTIFICATE

 I hereby attest and certify this date that the foregoing document is a full, true and correct copy of the original on file in my office, and in my
 legal custody.

                                                                      Clerk, U.S. District Court



                                                                By
            Filed Date                                                Deputy Clerk



                                                    FOR U.S. PROBATION OFFICE USE ONLY

Upon a finding of violation of probation or supervised release, I understand that the court may (1) revoke supervision, (2) extend the term of
supervision, and/or (3) modify the conditions of supervision.


         These conditions have been read to me. I fully understand the conditions and have been provided a copy of them.



         (Signed)
                      Defendant                                                                 Date




                      U. S. Probation Officer/Designated Witness                                Date




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